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      9
                                          UNITED STATES DISTRICT COURT
     10
                                         EASTERN DISTRICT OF CALIFORNIA
     11

     12   JOHN GARCIA, Plaintiff,                             )   Case No.: 1-07-CV00867 OWW DLB
                                                              )
     13   v.                                                  )   ORDER AFTER HEARING OF
                                                              )   PLAINTIFF'S APPLICATION FOR
     14   CITY OF MERCED, CITY OF MERCED                      )   EXTRA TIME TO PROVIDE EXPERT
          POLICE DEPARTMENT, BUREAU OF                        )   DISCLOSURE AND REPORT.
     15   NARCOTICS ENFORCEMENT SPECIAL                       )
          AGENT SUPERVISOR ALFREDO                            )   Date:         March 6, 2009
     16   CARDWOOD, Defendants.                               )   Time:         2:00 PM
                                                              )   Courtroom:    3
     17

     18              After hearing plaintiff’s application for relief from untimely designation of expert, the
     19   Court grants plaintiff’s application to disclose his expert witness, Robert Feliciano, as no
     20   prejudice has been shown and the failure is harmless. Plaintiff’s expert disclosure, background
     21   statement, and report shall be served on all parties no later than: March 13, 2009. Plaintiff is
     22   further ordered to produce the Expert for Deposition within a reasonable time, as agreed by the
     23   parties.
     24

     25   IT IS SO ORDERED.
     26

     27   Dated: March 6, 2009                             /s/ OLIVER W. WANGER
                                                           HONORABLE OLIVER WANGER
     28
                                                           US DISTRICT COURT JUDGE


               ORDER AFTER HEARING OF PLAINTIFF'S APPLICATION FOR EXTRA TIME TO PROVIDE EXPERT
                                          DISCLOSURE AND REPORT - 1

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             ORDER AFTER HEARING OF PLAINTIFF'S APPLICATION FOR EXTRA TIME TO PROVIDE EXPERT
                                        DISCLOSURE AND REPORT - 2

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